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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO
                                      __________

UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                                  No. CR 05-471 BB

BEN GALLEGOS, et al.,

             Defendants.


                                 MEMORANDUM OPINION
                                         AND
                           ORDER FOR IN CAMERA DISCLOSURE


      THIS MATTER is before the Court on Defendants’ Joint Motion to Compel

Discovery Related to the Interception of Electronic Communications [doc. 266], and the

Court having entertained oral argument on April 12, 2007, and considered all

submissions of counsel, re-adopts its oral rulings. With regard to the only issue taken

under advisement, following a careful review of the affidavit, the Court concludes the

Government should gather all information available to affiant, Special Agent Kendal

Johnson, with regard to the credibility and reliability of the SOI referred to in

Paragraph 9 and make Agent Johnson available for questioning in camera by the Court

on or before May 4, 2007. To the extent it is not Moot, Defendants’motion is otherwise

Denied.
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                                        Discussion

      The Court must balance Defendants’right to prepare a defense with the public

interest in protecting the safety of confidential informants. Franks v. Delaware, 438 U.S.

154 (1978); McCary v. Illinois, 386 U.S. 300 (1967). This is generally achieved by a

careful judicial scrutiny of Defendants’ claims and the underlying documents and

affidavits. United States v. Gordon, 173 F.3d 761, 767 (10th Cir. 1999); United States v.

Martinez, 979 F.2d 1424, 1429 (10th Cir. 1992). “The court conducts this balancing in

light of the crime charged, possible defenses, and the significance of the informant’s

testimony.” Id. citing United States v. Sinclair, 109 F.3d 1527 (10th Cir. 1997). The best

way to accomplish this is generally through an in camera hearing. See Gaines v. Hess,

662 F.2d 1364, 1369 (10th Cir. 1981).

      In the present case, while it is not presently clear whether the information

provided by SOI is critical to a determination of probable cause, it does appear material

to the allegation of the Affidavit that Defendants were committing offenses under 18

U.S.C. § 924(i), to wit: causing the death of a person through the use of a firearm during

and in relation to a drug trafficking offense. Aff. ¶ 4A(x) p. 4. See United States v.

Schauble, 647 F.2d 113 (10th Cir. 1981) (difference between “at” and “inside” a target

house not material). SOI’s motives as relative of Phillip Silva’s make his or her

testimony subject to scrutiny. United States v. Phillips, 727 F.2d 392, 397-8 (5th Cir.

1984) (motive may affect reliability). Since the affidavit is not entirely clear on


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corroboration of SOI, this will also be investigated. Finally, defense counsel may

propose written questions, if submitted by April 24. These will be considered by the

Court and asked, if appropriate. William E. Ringel, Searches and Seizures, Arrests and

Confessions § 7:6 (2007).



                                     ORDER

      The Government is ordered to make Special Agent Johnson available for an In

Camera interview at a convenient time between April 25 and May 4.



      SO ORDERED this 17th day of April, 2007.



                                              ________________________
                                              BRUCE D. BLACK
                                              United States District Judge




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